                                             Case 8:15-cv-00688-CJC-DFM Document 38 Filed 03/31/16 Page 1 of 3 Page ID #:271



                                                          1    Thomas I. Rozsa, State Bar No. 080615
                                                          2    Zsofia Nemeth, State Bar No. 298240
                                                               ROZSA LAW GROUP LC
                                                          3
                                                               18757 Burbank Boulevard, Suite 220
                                                          4    Tarzana, California 91356-3346
                                                               Telephone (818) 783-0990
                                                          5
                                                               Facsimile (818) 783-0992
                                                          6    email: counsel@rozsalaw.com
                                                          7
                                                               Attorney for Defendant and
                                                          8    Counterclaimant Kieu Hanh Trading, Inc.
                                                          9    doing business as Kieu Hanh Jewelry
                                                               (erroneously sued as Kieu Hanh Jewelry)
                                                          10

                                                          11                       UNITED STATES DISTRICT COURT
                     18757 BURBANK BOULEVARD, SUITE 220
                       TARZANA, CALIFORNIA 91356-3346




                                                          12
                                                                   CENTRAL DISTRICT OF CALIFORNIA (SOUTHERN DIVISION)
                           TELEPHONE (818) 783-0990
ROZSA LAW GROUP LC
                              ATTORNEYS AT LAW




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                                                          14
                                                               VERRAGIO, LTD.,                           CASE NO.: 8:15-cv-00688-CJC-DFM
                                                          15               Plaintiff,                    NOTICE OF SETTLEMENT
                                                          16
                                                                     vs.
                                                          17

                                                          18   KIEU HANH JEWELRY,
                                                          19
                                                                            Defendant.
                                                          20   _________________________________
                                                          21
                                                               KIEU HANH TRADING, INC., doing
                                                               business as KIEU HANH JEWELRY,
                                                          22

                                                          23               Counterclaimant,
                                                          24
                                                                    vs.
                                                          25
                                                               VERRAGIO, LTD.,
                                                          26

                                                          27               Counterclaim Defendant.
                                                          28


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                                                                                              NOTICE OF SETTLEMENT
                                             Case 8:15-cv-00688-CJC-DFM Document 38 Filed 03/31/16 Page 2 of 3 Page ID #:272



                                                          1           TO THE COURT:
                                                          2           PLEASE TAKE NOTICE, pursuant to Local Rule 16-15.7, that Plaintiff–Counterclaim
                                                          3    Defendant Verragio, Ltd. has reached a resolution with Defendant–Counterclaimant Kieu Hanh
                                                          4    Trading, Inc., erroneously sued as Kieu Hanh Jewelry in this action. This resolution will resolve
                                                          5    this matter in its entirety. The parties are currently working to finalize the settlement agreement

                                                          6    relating to this resolution. The parties expect to file a dismissal within twenty-one (21) days.

                                                          7    Therefore, the parties respectfully request that the current hearings, dates, and deadlines be

                                                          8    vacated so that the parties can finalize performance of the terms of the agreement and file the

                                                          9
                                                               dismissal.
                                                                      Pursuant to Local Rule 5-4.3.4(a)(2), counsel for Defendant – Counterclaimant attests
                                                          10
                                                               that counsel for Plaintiff – Counterclaim Defendant concurs in the content of this Notice of
                                                          11
                     18757 BURBANK BOULEVARD, SUITE 220




                                                               Settlement and has authorized its filing with his electronic signature.
                       TARZANA, CALIFORNIA 91356-3346




                                                          12
                           TELEPHONE (818) 783-0990
ROZSA LAW GROUP LC
                              ATTORNEYS AT LAW




                                                          13
                                                               Dated: March 31, 2016                 TUCKER ELLIS LLP
                                                          14
                                                                                                     By:     /s/ Howard A. Kroll
                                                          15                                                 Howard Kroll
                                                                                                             Attorney for Plaintiff and
                                                          16
                                                                                                             Counterclaim Defendant
                                                          17                                                 Verragio, Ltd.

                                                          18
                                                               Dated: March 31, 2016                 ROZSA LAW GROUP L.C.
                                                          19
                                                                                                     By:     /s/ Thomas I. Rozsa
                                                          20                                                 Thomas I. Rozsa
                                                                                                             Zsofia Nemeth
                                                          21                                                 Attorneys for Defendant and Counterclaimant
                                                                                                             Kieu Hanh Trading, Inc. d/b/a Kieu Hanh Jewelry
                                                          22

                                                          23

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                                                                                                   NOTICE OF SETTLEMENT
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                                                          2                                         PROOF OF SERVICE

                                                          3           I declare that I am over the age of eighteen (18) years and not a party to this action. My
                                                               business address is 18757 Burbank Boulevard, Suite 220, Tarzana, California 91356-3346.
                                                          4

                                                          5           On March 31, 16, I have served on the parties or their counsel shown below, the
                                                               following documents described as:
                                                          6

                                                          7

                                                          8    Howard A. Kroll, Esq.                             Attorneys for Plaintiff Verragio, Ltd.
                                                               Tucker Ellis LLP
                                                          9    515 South Flower Street
                                                               Forty-Second Floor
                                                          10
                                                               Los Angeles, CA 90071-2223
                                                          11   Facsimile: (213) 430-3400
                                                               [howard.kroll@tuckerellis.com]
                     18757 BURBANK BOULEVARD, SUITE 220
                       TARZANA, CALIFORNIA 91356-3346




                                                          12
                           TELEPHONE (818) 783-0990
ROZSA LAW GROUP LC




                                                                      BY MAIL. I am readily familiar with the firm’s practice of collection and processing of
                              ATTORNEYS AT LAW




                                                          13   [ ]
                                                                      correspondence for mailing with the United States Postal Service. Under that practice the
                                                          14          correspondence was deposited with the United States Postal Service on the same day this
                                                                      declaration was executed in the ordinary course of business. Under that practice, the
                                                          15
                                                                      envelope(s) was (were) sealed, and with postage thereon fully prepaid, placed for
                                                          16          collection and mailing on this date by first class mail at Tarzana, California addressed as
                                                                      set forth below.
                                                          17
                                                               [ ]    BY FEDERAL EXPRESS. I placed the document(s) listed above with fees thereon
                                                          18
                                                                      fully prepaid for deposit with Federal Express (next business day delivery), this same day
                                                          19          following ordinary business practices to the address(es) set forth below.

                                                          20   [ ]    BY FACSIMILE TRANSMISSION. I caused the above-referenced document to be
                                                                      transmitted by facsimile to its intended recipient(s) at the following facsimile number:
                                                          21

                                                          22   [X]    BY E-MAIL. Based on a court order or an agreement of the parties to accept service by
                                                                      e-mail or electronic transmission, I caused the document(s) to be sent to the person(s) at
                                                          23          the e-mail address(es) indicated above through the Court’s ECF service.
                                                          24
                                                                     I hereby declare under penalty of perjury that the foregoing is true and correct. Executed
                                                          25   on March 31, 16 at Tarzana, California.

                                                          26
                                                                                                            /s/ Zsofia Nemeth
                                                          27
                                                                                                            Zsofia Nemeth
                                                          28


                                                                                                               -3-
                                                                                                  NOTICE OF SETTLEMENT
